Case: 1:04-cr-00372 Document #: 425 Filed: 02/21/08 Page 1 of 10 PageID #:2028
Case: 1:04-cr-00372 Document #: 425 Filed: 02/21/08 Page 2 of 10 PageID #:2029
Case: 1:04-cr-00372 Document #: 425 Filed: 02/21/08 Page 3 of 10 PageID #:2030
Case: 1:04-cr-00372 Document #: 425 Filed: 02/21/08 Page 4 of 10 PageID #:2031
Case: 1:04-cr-00372 Document #: 425 Filed: 02/21/08 Page 5 of 10 PageID #:2032
Case: 1:04-cr-00372 Document #: 425 Filed: 02/21/08 Page 6 of 10 PageID #:2033
Case: 1:04-cr-00372 Document #: 425 Filed: 02/21/08 Page 7 of 10 PageID #:2034
Case: 1:04-cr-00372 Document #: 425 Filed: 02/21/08 Page 8 of 10 PageID #:2035
Case: 1:04-cr-00372 Document #: 425 Filed: 02/21/08 Page 9 of 10 PageID #:2036
Case: 1:04-cr-00372 Document #: 425 Filed: 02/21/08 Page 10 of 10 PageID #:2037
